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                    of Findings
                               Kalamazoo Public Schools (39010)
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 District Evidence of Correction: Briefly summarize CAP activities and describe when and how they were
 completed.
 The district held professional development, revised IEP invitation documents and MDR procedures from December
 2017 to April 2018. All special education ancillary staff were provided updates and new procedures as of January
 2018 in monthly meetings. In addition, Jordan Bullinger of Clark Hill Associates provides a professional development
 regarding special education discipline and IEP placement recommendation requirements based on MARSE and
 IDEA in February 2018. The special education department changed procedures for district administrators in the
 event an MDR is necessary to hold for a student with a disability. The new procedures were review with district
 administrators an instructional leaders and will be reflected in the MDR procedural packets for fall 2018.
 Date: 6/14/2018




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